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                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS
                                   HOT SPRINGS DIVISION

DR. MARCK BEGGS AND
DR. MEGAN HICKERSON                                                                               PLAINTIFFS

V.                                 CASE NO. 6:23-CV-6068-SOH

DR. CHARLES AMBROSE                                                                               DEFENDANT

                          BRIEF IN SUPPORT OF MOTION TO DISMISS
                                FIRST AMENDED COMPLAINT

        Plaintiffs’ First Amended and Substituted Complaint (“Complaint”) against Dr. Charles

Ambrose 1 (“Ambrose”) based on age discrimination under the Age Discrimination in Employment

Act (“ADEA”) and alleged breach of contract should be dismissed pursuant to Fed. R. Civ. P.

12(b)(6) because it fails to state a claim upon which relief can be granted. These claims are barred

by sovereign immunity, and the Plaintiffs lack standing to bring their age discrimination claim.

The Court should further decline to exercise supplemental jurisdiction over Plaintiffs’ First

Amended and Substituted Complaint (“Amended Complaint”) against Ambrose for breach of

contract.

                                              INTRODUCTION

        The allegations below are contained in Plaintiffs’ Complaint. 2 Plaintiffs are former tenured

professors at Henderson State University. Doc. 11, ¶¶ 13, 15. Separate Plaintiff Dr. Marck Beggs

(“Beggs”) is sixty-five (65) years old. Separate Plaintiff Dr. Megan Hickerson (“Hickerson”) is



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  Plaintiffs’ Original Complaint named Henderson State University as Defendant. Doc. 2. In filing their First Amended
and Substituted Complaint, Plaintiffs dropped all claims against Henderson State University and in fact removed the
university from even being identified as a party in the caption of the case. Doc. 11. In light of the Plaintiffs’
abandonment of their claims against Henderson State University, the Court should enter an order formally dismissing
Henderson State University as a defendant.
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  For purposes of this Motion to Dismiss only, Ambrose sets forth the facts as alleged in Plaintiffs’ Complaint.
Ambrose reserves the right to deny any and all allegations contained in Plaintiffs’ Complaint should this Motion to
Dismiss be denied.
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fifty-seven (57) years old. Doc. 11, ¶ 2. Henderson State is a public university and is part of the

Arkansas State University System. Doc. 11, ¶ 37. Ambrose is Chancellor of Henderson State.

Doc. 11, ¶ 20. In Spring 2022, Henderson State’s faculty senate, academic deans, and Arkansas

State University System Board of Trustees issued a declaration of financial exigency. Doc. 11, ¶

37. A declaration of financial exigency is one of the most serious steps a university can take and

allows the termination of tenured faculty and the elimination of university programs if it is shown

that doing so is necessary to help with the ongoing financial crisis. Doc. 11, ¶¶ 35, 36. Plaintiffs’

positions along with sixty-five (65) other faculty members at Henderson State, were terminated by

the Arkansas State University Board of Trustees on May 5, 2022. Doc. 11, ¶ 16.

       Henderson State promoted Lacy Klinger (“Klinger”) to Academic Program Director in

April 2022. Doc. 11, ¶ 29. Klinger was promoted to Academic Program Director without

advertising the position, interviewing Plaintiffs, or offering Plaintiffs an opportunity to apply. Doc.

11, ¶31. Ambrose failed to offer Plaintiffs the opportunity to apply for employment as Academic

Program Director for the Arts and Humanities even though both Beggs and Hickerson had more

extensive qualifications for the position than Klinger. Doc. 11, ¶ 44. Plaintiffs suffered an adverse

employment action in not being allowed to apply for the Academic Program Director position and

in being terminated in May 2023. Doc. 11, ¶¶ 47-49.

       For their first count, Plaintiffs allege that Ambrose violated the ADEA when Plaintiffs were

denied the opportunity to apply for promotions and ultimately terminated due to alleged age

discrimination. Doc. 11, ¶¶ 53, 59. They allege that “Defendant employs younger employees who

were not subject to the same treatment that Plaintiffs experienced during their employment.” Doc.

11, ¶ 56. For relief in connection with this claim, Plaintiffs seek “a declaratory judgment that




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Defendant follow the law and injunctive relief to be able to apply for a position as provided in the

handbook, denied or lost to them by reason of Defendant’s violations of ADEA.” Doc. 11, ¶ 63.

       For their second count, Plaintiffs allege that Henderson State’s Faculty Handbook and other

parts of Plaintiffs’ employment contract formed a binding employment contract which is binding

on Ambrose as Chancellor. Doc. 11, ¶ 66. They assert that Defendant breached the terms of the

Handbook and employment contract by failing to offer Plaintiffs the opportunity to apply for

employment as the Academic Program Director for the Arts and Humanities. Doc. 11, ¶¶ 67-68.

For relief, Plaintiffs seek “injunctive relief that Defendant honor the terms of the contract and

allow Plaintiffs to apply for positions.” Doc. 11, ¶ 69.

       Plaintiffs’ Complaint against Ambrose, in his official capacity as Chancellor of Henderson

State, must be dismissed in its entirety because it is barred by sovereign immunity.

                                   STANDARD OF REVIEW

       A complaint must contain sufficient factual allegations to state a plausible claim to relief

on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009).

“A claim has facial plausibility when the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id.

Furthermore, “the pleading standard Rule 8 announces does not require ‘detailed factual

allegations,’ but it demands more than unadorned, the-defendant-unlawfully-harmed-me

accusation.” Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). A complaint that

merely “offers labels and conclusions or a formulaic recitation of the elements of a cause of action

will not do.” Id. More than “naked assertions devoid of further factual enhancement” is required.

Id.




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       To avoid dismissal, a complaint must allege facts sufficient to state a claim as a matter of

law and not merely legal conclusions. Springdale Educ. Ass’n v. Springdale Sch. Dist., 133 F.3d

649, 651 (8th Cir. 1998). Legal conclusions, unsupported conclusions, and unwarranted inferences

must be ignored and fail to withstand a Rule 12(b)(6) motion. See Farm Credit Svcs. v. American

State Bank, 339 F.3d 764, 767 (8th Cir. 2003). A court is “not required to divine the litigant’s

intent and create claims that are not clearly raised, and it need not conjure up unpled allegations to

save a complaint.” Warmington v. Bd. of Regents of Univ. of Minnesota, 455 F. Supp. 3d 871, 880

(D. Minn. 2020), aff'd, 998 F.3d 789 (8th Cir. 2021).

                                           ARGUMENT

A.     Plaintiffs’ age discrimination claims under the ADEA are barred by sovereign
       immunity.

       Plaintiffs’ claims of age discrimination under the ADEA are barred by sovereign immunity.

In Kimel v. Florida v. Board of Regents, 528 U.S. 62 (2000), the Supreme Court held that the

ADEA’s purported abrogation of the States’ sovereign immunity was invalid. Accord Fromm v.

Commission of Veterans Affairs, 220 F.3d 889 (8th Cir. 2000) (the ADEA does not abrogate a

state’s Eleventh Amendment immunity). A state agency or official is also entitled to “Eleventh

Amendment immunity if the immunity will protect the state treasury from liability that would have

had essentially the same practical consequences as a judgment against the State itself.” Becker v.

University of Nebraska, 191 F.3d 904, 908 (8th Cir. 1999). Ambrose is the Chancellor of

Henderson State which is a public university and part of the Arkansas State University System.

Doc. 11, ¶¶ 19-20. Where a complaint is silent about the capacity in which a defendant is sued,

the court will interpret the complaint as including only official capacity claims. Gray v. Arkansas

Dep't of Hum. Servs., 406 F. App'x 84 (8th Cir. 2010). Arkansas public universities are agencies

of the state and immune from suit. Buckley v. Univ. of Arkansas Bd. of Trustees, 780 F. Supp. 2d

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827, 830 (E.D. Ark. 2011). Like the claims in Buckley, Plaintiffs’ ADEA claims are barred by the

doctrine of sovereign immunity and must be dismissed under Fed. R. Civ. P. 12(b)(1). Because

they are barred by sovereign immunity, Plaintiffs’ ADEA claims should also be dismissed under

Fed. R. Civ. P. 12(b)(6) for failure to state a claim upon which relief can be granted.

       Plaintiffs may argue their claim is for prospective injunctive relief and not barred by

sovereign immunity under Ex Parte Young, 209 U.S. 123 (1908). “A plaintiff seeking injunctive

relief against a state official under Ex parte Young must demonstrate both that she seeks

prospective injunctive relief and that there is a continuing violation of federal law.” Sterling v. Bd.

of Trustees of Univ. of Arkansas, No. 4:19-CV-00025 KGB, 2020 WL 6268109, at *6 (E.D. Ark.

Oct. 23, 2020). Plaintiffs do not seek reinstatement. In fact, Plaintiffs’ positions were eliminated.

Aside from appointing Lacy Kling to the Academic Program Director for Arts and Humanities

position without first offering them the chance to apply, Plaintiffs have not alleged that Ambrose

has taken any action to prevent them from applying for any other position that has come open.

Further, they have not identified an open position for which they would like to apply, nor do

Plaintiffs allege that Ambrose is currently taking any action to prevent them from applying for

open positions. All of Plaintiffs allegations are about what has already happened – there are no

allegations of ongoing or future violations. E.g. Doc. 11, ¶¶ 44, 47, 59, 67. Therefore, Plaintiffs

Complaint against Ambrose based on violation of the ADEA is barred by sovereign immunity.

B.     Plaintiffs lack standing to bring an ADEA claim.

       “In order to have standing in federal court, a plaintiff must allege a concrete and

particularized injury-in-fact that is (1) actual or imminent, (2) fairly traceable to the defendant's

wrongful conduct, and (3) redressable by a favorable judicial decision.” Stepps v. Bd. of Trustees

of Univ. of Arkansas, No. 4:21-CV-00986-LPR, 2022 WL 4086647, at *4 (E.D. Ark. Sept. 6,



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2022). In Stepps, a professor failed to allege any ongoing or imminent injuries that would be

redressed by prospective injunctive relief. Id. “Past exposure to illegal conduct does not in itself

show a present case or controversy regarding injunctive relief ... if unaccompanied by any

continuing, present adverse effects.” Steel Co. v. Citizens for a Better Env't, 523 U.S. 83, 109

(1998).

          Here, like in Stepps, Plaintiffs fail to allege any ongoing or future harm. Instead, they

allege that Ambrose appointed Lacy Klinger to the Academic Program Director for Arts and

Humanities without offering them the opportunity to apply and that they were ultimately

terminated. These are allegations of past wrongful conduct, not allegations of ongoing or imminent

conduct. This is evident even in their prayer for relief. There, Plaintiffs ask for “[a]n order for

injunctive relief pursuant to the Age Discrimination in Employment Act, 29 U.S.C. § 623, et seq.

and Arkansas common law that Dr. Charles Ambrose follow the law and allow Plaintiffs to apply

for the position they were denied and other positions.” Doc. 11 at 11. Plaintiffs have not alleged

that Ambrose has declared Plaintiffs ineligible to apply for positions as they come open or

otherwise acted to prevent them from applying for positions in the future. Their only factual

allegations relate to the past appointment of the Academic Program Director for Arts and

Humanities. For purposes of Plaintiffs’ official capacity claims against Ambrose, no injury is

alleged that is redressable by the court. Therefore, Plaintiffs lack standing to pursue their ADEA

claim and the Court should dismiss Plaintiffs’ Complaint accordingly.

C.        The Plaintiffs’ breach of contract claim is barred by sovereign immunity.

          The Plaintiffs’ breach of contract claim should be dismissed because it is barred by

Eleventh Amendment sovereign immunity. Plaintiffs apparently seek to enforce the terms of

employment contracts they allegedly held with Henderson State University by seeking declaratory



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and injunctive relief against the university’s chancellor in his official capacity. The Eighth Circuit

Court of Appeals addressed this issue directly when confronted with a plaintiff who sought to

enforce the terms of a contract it held with Arkansas State University by seeking injunctive relief

against university officials in their official capacities. Dover Elevator Co. v. Ark. State Univ., 64

F.3d 442 (8th Cir. 1995). In concluding that the plaintiff’s complaint was barred by sovereign

immunity under the Eleventh Amendment, the court explained that the exception to the Eleventh

Amendment found in Edleman v. Jordan, 415 U.S. 651 (1974), and Ex Parte Young “is limited,

however, to injunctive relief granted on the basis of federal law.” Id. 64 F.3d at 447 (emphasis

added). For this proposition, the Eighth Circuit block quoted the United States Supreme Court’s

decision in Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89 (1984):

       A federal court’s grant of relief against state officials on the basis of state law,
       whether perspective or retroactive, does not validate the supreme authority of
       federal law. On the contrary, it is difficult to think of a greater intrusion on state
       sovereignty than when a federal court instructs state officials on how to conform
       their conduct to state law. Such a result conflicts directly with the principles of
       federalism that underlie the Eleventh Amendment. We conclude that Young and
       Edelman are inapplicable in a suit against state officials on the basis of state law.

Dover Elevator Co., 64 F.3d at 447 (quoting Pennhurst, 465 U.S. at 106). Accordingly, the plaintiff

in Dover Elevator Co. could not pursue its breach of contract claims for monetary or injunctive

relief against official capacity state defendants in federal court, and neither can the Plaintiffs here

pursue their breach of contract claims against Ambrose in this Court.

D.     The Court should decline to exercise supplemental jurisdiction over Plaintiffs’ breach
       of contract claim.

       Even if the Plaintiffs’ breach of contract claim were not barred by sovereign immunity, the

Court should nevertheless decline to exercise supplemental jurisdiction over that state law claim.

28 USC § 1367 provides that district courts may decline to exercise supplemental jurisdiction over

state-law claims if:

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       (1) the claim raises a novel or complex issue of State law,

       (2) the claim substantially predominates over the claim or claims over which the
           district court has original jurisdiction,

       (3) the district court has dismissed all claims over which it has original jurisdiction,
           or

       (4) in exceptional circumstances, there are other compelling reasons for declining
           jurisdiction

Because Plaintiffs’ claims under the ADEA must be dismissed and the state law claim for

breach of contract is barred by sovereign immunity, the Court should decline to exercise

supplemental jurisdiction over Plaintiffs’ state law breach of contract claim. Laney v. City

of St. Louis, Missouri, No. 4:18 CV 1575 CDP, 2021 WL 4439252, at *10 (E.D. Mo. Sept.

28, 2021), aff'd, 56 F.4th 1153 (8th Cir. 2023).

                                         CONCLUSION

       Plaintiffs’ claims based on age discrimination under the ADEA must be dismissed under

Fed. R. Civ. P. 12(b)(1) and Fed. R. Civ. P. 12(b)(6) because they are barred by the doctrine of

sovereign immunity in that Plaintiffs do not seek prospective injunctive relief to remedy an

imminent or ongoing violation of federal law. Plaintiffs also lack standing to pursue their ADEA

claims against Ambrose. Finally, the Court should decline to exercise supplemental jurisdiction

over Plaintiffs’ state law breach of contract claim.




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                                           Respectfully submitted,

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